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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                  (Alexandria Division)



 JFXD TRX ACQ LLC, d/b/a TRX, a Florida               Civil Action No. 1:23-cv-217
 limited liability company
                                                      Judge:
                    Plaintiff,
                                                       DEMAND FOR JURY TRIAL
        v.

 <trx.com>, a domain name,

        and

 Loop Tze Ming, an individual from
 Malaysia.

                    Defendants.



                                          COMPLAINT

       Plaintiff, JFXD TRX ACQ LLC d/b/a TRX (“Plaintiff” or “TRX”), by and through its

attorneys, for its Complaint against Defendant Loop Tze Ming (“Ming” or “Defendant”) and the

domain name <trx.com> (“trx.com” or “the Domain Name”), alleges as follows:

                                     NATURE OF ACTION

       1.       TRX’s claim stems from Defendant’s cybersquatting of the domain name

<trx.com> in violation of the Anti-cybersquatting Consumer Protection Act, 15 U.S.C. § 1125(d)

(the “ACPA”).

                                            PARTIES

       2.       TRX is a limited liability company organized under the laws of the State of Florida

and maintains its principal office at 501 Palm Trail, Delray Beach, Florida 33843.

       3.       Upon information and belief, Defendant is a citizen of Malaysia located in



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Selangor, Malaysia.

        4.     Upon information and belief, <trx.com> is an Internet domain name that, according

to WHOIS® database records, is registered to “au tuu” located at the street “Iceland” in the city

“Iceland” located in the country “IS” with postal code “120.” The WHOIS registration for

<trx.com> further lists a phone number, +354.1564189, and localxiy@gmail.com, under contact

information for the registrant.

        5.     Upon information and belief, Defendant is the registrant of <trx.com> and provided

false contact information in registering the Domain Name.

                                  JURISDICTION AND VENUE

        6.     This Court has subject matter jurisdiction over this action pursuant to 15 U.S.C.

§ 1121 and 28 U.S.C. §§ 1331, 1338, because this case arises under the ACPA, 15 U.S.C.

§ 1125(d), which is a federal law.

        7.     This Court has personal jurisdiction over Defendant because Defendant has

engaged in conduct that has damaged and continues to damage TRX within Virginia and this

District. Specifically, as set forth in further detail below, Defendant has registered a domain name

comprised of Plaintiff’s well known TRX mark in bad faith through the domain name registry

operator, Verisign, which is located in this District. Through Defendant’s deliberate bad faith

registration of the <trx.com> Domain Name through Verisign, Defendant has created contacts with

Virginia and this District sufficient to establish personal jurisdiction over it in Virginia and this

District.

        8.     This Court has in rem jurisdiction over <trx.com> pursuant to 15 U.S.C.

§ 1125(d)(2)(A). Upon information and belief, Defendant provided the domain name registrar,

GoDaddy Inc., with false contact information in registering the <trx.com> Domain Name. As part




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of a prior action under the Uniform Domain Name Dispute Resolution Policy (the “UDRP”) to

recover the <trx.com> Domain Name, TRX, through its predecessor-in-interest, emailed the

localxiy@gmail.com email address listed under the contact information for the Domain Name, but

received no response. Due to the incomplete nature of the postal address listed for the <trx.com>

Domain Name, TRX also has not been able to reach the <trx.com> Domain Name registrant

through postal mail. Further, TRX may be unable to obtain in personam jurisdiction over

Defendant. Accordingly, in rem jurisdiction over <trx.com> is appropriate.

       9.      Venue is proper pursuant to 28 U.S.C. § 1391(b) because a substantial part of the

events or omissions giving rise to the claim at issue in this litigation occurred in this District

because Defendant directed its activities at and engaged in conduct harming TRX in this District

when it registered the <trx.com> domain name through Verisign, located in this District. Venue is

also proper under 15 U.S.C. § 1125(d)(2)(C)(i). Under this statutory provision, a domain name is

deemed to have its situs in the judicial district in which the domain name registrar, registry, or

other domain name authority that registered or assigned the domain name is located. Verisign, the

domain name operator of .com websites is located in this District. Accordingly, a situs of the

<trx.com> Domain Name is located in this judicial district.

                               TRX AND ITS TRADEMARKS

       10.     TRX is a global leader in the fitness industry, providing world-class equipment,

training, and education to empower and challenge every body infinitely, using individuals’ own

body weight.

       11.     TRX is the owner of the famous and distinctive trademark TRX®. By itself and

through its predecessors in interest, TRX has used the TRX mark continuously in United States

commerce since at least as early as 2005 in connection with fitness-related goods and services.




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       12.     TRX offers products and services under its TRX marks throughout the United

States and the world.

       13.     In addition to its longstanding common law rights, TRX owns trademark

registrations in the United States and over sixty other countries worldwide, including Malaysia,

for its TRX-formative marks. These registrations include the following:

     Mark         Registration Registration               Goods and Services
                      No.         Date
 TRX              3,384,871    February 19, Class 41: Physical fitness conditioning
                               2008         classes; Physical fitness consultation; Physical
                                            fitness instruction; Physical education services
 TRX              3,202,696     January 23,     Class 28: Manually operated multipurpose
                                2007            exercise, fitness, and sporting equipment, and
                                                instructional material sold together therewith
                                                as unit.
 TRX              4,018,159     August 30,      Class 9: Digital materials, namely,
                                2011            downloadable media files, namely, MP3 file,
                                                DVDs, video files featuring physical
                                                education, exercise, fitness information and
                                                instruction; DVDs featuring physical
                                                education, exercise, fitness information and
                                                instruction; Pre-recorded DVDs featuring
                                                physical education, exercise, fitness
                                                information and instruction.
                                                Class 38: Streaming of videos featuring
                                                physical education, exercise, fitness
                                                information and instruction on the internet.
                                                Class 41: Providing online non-downloadable
                                                videos featuring physical education, exercise,
                                                fitness information and instruction.
 TRX              3,925,283     March 1,        Class 41: Physical education; Physical
 TRAINING                       2011            education services; Physical fitness
 CENTER and                                     conditioning classes; Physical fitness
 Design
                                                consultation; Physical fitness instruction;
                                                Physical fitness studio services, namely,
                                                providing group exercise instruction,
                                                equipment, and facilities; Physical fitness
                                                training services
 TRX CORE         4,422,454     October 22,     Class 41: Physical education services;
                                                physical fitness conditioning classes; physical


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  Mark         Registration Registration               Goods and Services
                   No.         Date
                            2013         fitness consultation; physical fitness
                                         instruction; physical fitness training of
                                         individuals and groups; physical fitness
                                         training services.
TRX            4,459,672     December       Class 6: Hardware mounting systems for use
TRAINING                     31, 2013       with exercise training equipment, namely,
ZONE                                        metal bars, poles, plates, and anchors for
                                            attachment to floors, walls, vertical studs, and
                                            horizontal beams, and free-standing metal
                                            frames.
TRX            4,345,798     June 4, 2013   Class 41: Physical education services;
TRAINING                                    Physical fitness conditioning classes; Physical
CENTER                                      fitness consultation; Physical fitness
                                            instruction; Physical fitness studio services,
                                            namely, providing group exercise instruction,
                                            equipment, and facilities; Physical fitness
                                            training of individuals and groups; Physical
                                            fitness training services.
TRX FORCE      4,027,129     September      Class 28: Manually-operated exercise
                             13, 2011       equipment.
TRX            4,542,811     June 3, 2014   Class 42: Design, development, and
                                            implementation of software for fitness training,
                                            including general and customized workouts,
                                            agility drills, benchmarking tests, strength
                                            training, and core stability exercises; Software
                                            as a service (SAAS) services featuring
                                            software for fitness training, including general
                                            and customized workouts, agility drills,
                                            benchmarking tests, strength training, and core
                                            stability exercises; Application service
                                            provider (ASP) featuring software for use for
                                            fitness training, including general and
                                            customized workouts, agility drills,
                                            benchmarking tests, strength training, and core
                                            stability exercises.
TRX MAKE       4,583,899     August 12,     Class 28: Manually-operated exercise
YOUR                         2014           equipment; Manually operated multipurpose
BODY                                        exercise, fitness, and sporting equipment, and
MACHINE
                                            instructional material sold together therewith
                                            as unit; Fitness and exercise equipment,
                                            namely, manually operated exercise
                                            equipment; Manually operated fitness and


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   Mark        Registration Registration                Goods and Services
                   No.         Date
                                           exercise equipment, namely, exercise bars for
                                           use in resistance training, cardiovascular
                                           training, and weight training, fitness,
                                           therapeutic, and sporting equipment for
                                           personal and professional use, and
                                           instructional material sold together therewith
                                           as unit.
TRX            4,731,160    May 5, 2015    Class 25: Apparel, namely, hats and caps, t-
                                           shirts, hoodies, shorts, and socks.
TRX            4,998,892    July 12,       Class 25: Apparel for use in conjunction with
                            2016           gym exercising and fitness classes, namely,
                                           long sleeve shirts, shirts, jersey's, mock turtle
                                           necks, jackets, skirts, athletic sleeves, hoods,
                                           vests, tank tops, baselayer tops, rainproof
                                           jackets, undershirts, yoga shirts, athletic
                                           uniforms, padded elbow compression sleeves,
                                           camouflage jackets, camouflage shirts,
                                           camouflage vests, padded shirts, moisture-
                                           wicking sports bras, moisture-wicking sports
                                           shirts, leggings, pants, padded pants, padded
                                           shorts, baselayer bottoms, boxer briefs, boxer
                                           shorts, under wear, briefs, jogging pants,
                                           camouflage pants, swimwear, yoga pants, capri
                                           pants, moisture-wicking sports pants, skorts,
                                           unitards, triathlon clothing, hats, headwear for
                                           winter and summer, wristbands, skull caps,
                                           gloves, mittens, visors, bandanas, beachwear,
                                           bikinis, camouflage gloves, sweatshirts.
TRX M      6,139,690        September 1, Class 41: Educational services, namely,
BODY                        2020         conducting group physical fitness training
STRAP INTO                               programs using strap-based trainers for use in
THE
MOVEMENT                                 conjunction with bodyweight, functional
and Design                               training tools, or cardio equipment; Group
                                         physical fitness training using strap-based
                                         trainers for use in conjunction with
                                         bodyweight, functional training tools, or cardio
                                         equipment; Educational services for
                                         professional personal trainers, namely, training
                                         services in the field of live foundational
                                         movement methodology training, use of strap-
                                         based equipment training, how to provide
                                         digital content with training techniques,
                                         providing teach-back submission training,


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     Mark        Registration Registration                   Goods and Services
                     No.         Date
                                                training on how to provide access to
                                                programming and workouts to consumers, and
                                                quarterly up-skilling training, all related to
                                                strap based equipment; Providing information
                                                in the field of group exercise training using
                                                strap-based trainers, including information as
                                                to how to use strap-based training equipment,
                                                special ergonomics required for strap-based
                                                training spaces and how to care for strap-based
                                                equipment such as storage and anchoring of
                                                strap-based equipment.
 TRX             6,049,742       May 5, 2020    Class 28: Fitness and exercise equipment,
 ROCKER                                         namely, a manually-operated exercise roller
                                                for exercising and toning portions of the body.
 TRX LIVE        6,720,002       May 3, 2022    Class 38: Streaming of audio and video
                                                materials on the Internet featuring physical
                                                fitness classes, training, and instruction.
                                                Class 41: Providing classes, workshops and
                                                seminars in the fields of fitness and exercise;
                                                providing fitness and exercise facilities;
                                                physical fitness instruction and consultation;
                                                physical fitness conditioning classes; physical
                                                fitness training services providing a website
                                                featuring information on exercise and physical
                                                fitness accessible through a global computer
                                                network and mobile devices.


       14.    Copies of the foregoing registrations and corresponding records from the

Trademark Electronic Search System (TESS) are attached hereto as Exhibit A and incorporated

herein by reference. TRX’s common law rights in and registrations for its TRX marks shall be

referred to collectively herein as the “TRX Marks.”

       15.    The foregoing registrations for the TRX Marks are valid and subsisting and are

prima facie evidence of TRX’s exclusive right to use the TRX Marks in connection with the

identified goods and services in the United States. Many of the foregoing registrations for the

TRX Marks are incontestable and therefore constitute conclusive evidence of the validity of those


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marks, as well as TRX’s ownership thereof and exclusive right to use those marks in connection

with the identified goods and services.

       16.     The TRX Marks are famous, highly distinctive, and emblematic of TRX and its

high quality fitness goods and services.

       17.     TRX prominently displays the TRX Marks in its advertising and promotional

materials. TRX has spent significant time, effort, and resources establishing its TRX Marks in the

minds of its customers and the public via advertisements and promotions, including online

advertisements and promotions, as representative of TRX’s high quality fitness products and

services. The volume and reach of TRX’s marketing and advertising efforts relating to its TRX

products and services has been substantial.

       18.     TRX’s marketing and advertising efforts have yielded great success. By itself and

through its predecessors in interest, TRX has generated substantial revenue from the sale of

products and services under its TRX Marks.

       19.     As a result of TRX’s continuous use, extensive sales, advertising, and promotion

of the TRX Marks, the TRX Marks enjoy widespread recognition and an excellent reputation, and

are recognized by the public as emanating exclusively from TRX and representative of TRX’s high

quality fitness products and services.

       20.     As a result of TRX’s efforts and commercial success in advertising, marketing and

promoting products and services under the TRX Marks, TRX has generated substantial and

valuable goodwill in its TRX Marks, and the TRX Marks have become intangible assets of

substantial commercial value to TRX.

       21.     Unfortunately, the enormous success of the TRX brand has given rise to numerous

infringers, counterfeiters, and cybersquatters around the world seeking to capitalize unlawfully on




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the goodwill that TRX has built up over the years in its TRX Marks. The counterfeit and inferior

goods many of these bad actors offer and sell to the public damage the goodwill associated with

the TRX Marks and put consumers and the public at risk.

       22.      To combat such damage and protect its brand, TRX aggressively enforces its highly

valuable TRX Marks and has campaigned globally against infringers, counterfeiters, and

cybersquatters for well over a decade.

                          DEFENDANT’S UNLAWFUL CONDUCT

       23.      In or around October 2022, TRX’s predecessor-in-interest, Fitness Anywhere LLC

(“TRX’s Predecessor”), learned that the <trx.com> Domain Name had been purchased.

       24.      TRX’s Predecessor subsequently attempted to reach the <trx.com> registrant

through the Domain Name’s registrar, Go Daddy Inc., for purposes of acquiring the Domain Name.

However, those attempts were unsuccessful.

       25.      In October 2022, TRX’s Predecessor filed a UDRP complaint with a domain name

dispute administrator against the <trx.com> registrant seeking transfer of the Domain Name (the

“UDRP Proceeding”).

       26.      The registrant of the Domain Name defaulted in the UDRP Proceeding.

       27.      On November 11, 2022, the domain name dispute administrator issued a decision

in the UDRP Proceeding ordering transfer of the Domain Name to TRX’s Predecessor. A copy of

the decision from the UDRP Proceeding is attached hereto as Exhibit B and incorporated herein

by reference.

       28.      In issuing the decision in the UDRP Proceeding, the panelist conducted a full

analysis and found, inter alia, that “the disputed domain name is identical to a mark in which

Complainant has rights; that Respondent lacks rights or legitimate interests in respect of the




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disputed domain name; and that the disputed domain name was registered and is being used in bad

faith.” See Ex. B.

       29.     Following the decision in the UDRP Proceeding, on November 30, 2022,

Defendant filed a complaint instituting Case No. 2:22-cv-02042 in the District of Arizona asserting

several claims against TRX’s Predecessor and seeking to block the transfer of <trx.com> (the

“Complaint”). The Complaint is attached hereto as Exhibit C and incorporated herein by reference.

       30.      In the Complaint, Defendant asserts that he acquired <trx.com> in April 2022 for

$138,000. Ex. C, ¶16. Defendant asserts that he acquired the Domain Name after becoming

“interested in investments in digital assets” and learning “that the internet domain name TRX.com

was available for sale.” Id. at ¶ 10.

       31.     After acquiring the Domain Name, Defendant “arranged to have the Domain Name

resolve to a ‘for sale’ page through which prospective purchasers could express interest in

obtaining the Domain Name.” Id. at ¶ 19.

       32.     Defendant admits he used an alias to register the Domain Name. Id. at ¶ 20.

       33.     Defendant has not asserted any trademark or other intellectual property rights in the

Domain Name.

       34.     Defendant has not asserted that the Domain Name consists of his legal name or a

name that is commonly used to identify Defendant.

       35.     Upon information and belief, Defendant has made no use of <trx.com> in

connection with the bona fide offering of any goods or services. Defendant admits that he has not

used the Domain Name to advertise exercise services. Id. at ¶ 21.

       36.     Upon information and belief, Defendant has made no bona fide noncommercial or

fair use of TRX’s TRX Marks in a site accessible under the Domain Name <trx.com>.




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         37.   Upon information and belief, Defendant has offered to sell the Domain Name

<trx.com> for consideration without having used, or having an intent to use the Domain Name in

a bona fide offering of any goods or services and has a pattern of such conduct.

         38.   Upon information and belief, the sole goal of Defendant’s acquisition of the

Domain Name was for profit.

         39.   Upon information and belief, Defendant provided material and misleading false

contact information in registering the Domain Name and has engaged in a pattern of such conduct.

         40.   As set forth above, the TRX Marks are famous, highly distinctive, and well-known

in the United States and throughout the world, including Malaysia.

         41.   Upon information and belief, Defendant was well aware of the TRX Marks and

TRX’s prior rights therein when he registered <trx.com>.

         42.   The <trx.com> Domain Name is identical or virtually identical to and fully

incorporated in the registration of the famous and highly distinctive TRX Marks.

         43.   Upon information and belief, Defendant knew that his registration and use of the

Domain Name would cause confusion among consumers and the public who would mistakenly

believe that there existed some connection between Defendant and/or his use of the Domain Name

on the one hand and TRX on the other, when in fact there is none.

                                           COUNT I

   Violation of the Anti-Cybersquatting Consumer Protection Act (15 U.S.C. § 1125(d))

         44.   TRX realleges and incorporates by reference all preceding allegations set forth

above.

         45.   TRX’s federally registered TRX Marks were famous, well-known, and distinctive

before Defendant’s registration and/or acquisition of <trx.com> on or before 2022 and are entitled




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to protection under the Lanham Act.

       46.     Defendants’ aforementioned acts demonstrate that Defendant has a bad faith intent

to profit from TRX’s TRX Marks.

       47.     Defendant has used and acquired for purposes of transferring, selling, or otherwise

assigning <trx.com> to any third party for financial gain without having used, or having an intent

to use, the Domain Name in the bona fide offering of any goods or services.

       48.     Defendant has registered, trafficked in, and used <trx.com>, which is identical to

or confusingly similar to or dilutive of the TRX Marks.

       49.     Defendants’ use of <trx.com> is likely to cause confusion among customers.

       50.     The acts described here constitute unlawful cyberpiracy in violation of the ACPA.

       51.     Defendants’ actions justify an award of statutory damages in an amount of

$100,000 per domain pursuant to 15 U.S.C. § 1117(d).

       52.     Defendant has engaged in and continues to engage in these activities knowingly,

willfully, and deliberately. This is an exceptional case, which justifies an award of TRX’s

reasonable attorney fees and costs.

       53.     Defendant’s use of <trx.com>, unless enjoined by the Court, will continue to cause

TRX to sustain irreparable damage in a manner and amount that cannot be fully measured or

compensated in economic terms and for which there is no adequate remedy at law. Such irreparable

damage will continue unless Defendant’s acts are enjoined during the pendency of this action and

thereafter. Pursuant to 15 U.S.C. § 1125(d)(2)(D)(i), TRX is entitled to an order transferring the

<trx.com> registration and website to TRX.

                                       Prayer for Relief

       WHEREFORE, TRX respectfully requests that the Court enter judgment in its favor and




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against Defendant, providing the following relief:

         a.    The judgement be entered in favor of TRX on its ACPA claim and against

Defendant;

         b.    Finding that Defendant’s conduct as described above is in violation of the ACPA,

15 U.S.C. § 1125(d);

         c.    Granting an injunction ordering Defendant, its officers, agents, and employees, and

all persons acting in concert with them, to cease and refrain from using the TRX Marks, <trx.com>,

or any other form or variation of TRX’s TRX Marks or any confusingly similar domain names and

marks;

         d.    Ordering the transfer of <trx.com>, as provided in 15 U.S.C. § 1125(d)(1)(C);

         e.    Awarding TRX a money judgement for Defendant’s profits and TRX’s damages

pursuant to 15 U.S.C. § 1117;

         f.    Awarding TRX $100,000 in statutory damages pursuant to 15 U.S.C. § 1117;

         g.    Trebling the award to TRX under 15 U.S.C. § 1117 on account of Defendant’s

willful, intentional, and bad-faith conduct;

         h.    Awarding TRX its reasonable attorneys’ fees and costs pursuant to 15 U.S.C. §

1117;

         i.    Awarding TRX pre-judgment and post-judgment interest; and

         j.    Awarding TRX such other and further relief as the Court may deem just and proper.




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                              DEMAND FOR JURY TRIAL

       TRX demands a trial by jury.


                                            Respectfully submitted,


Dated: February 16, 2023
                                            /s/ Charles F.B. McAleer, Jr.
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